                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )       NO. 3:10-00243
                                                      )       JUDGE CAMPBELL
GERRY CAMPBELL and MARILYN GREENE                     )

                                              ORDER

         In light of an ongoing criminal trial involving counsel for Defendant Greene, the change of

plea hearing is rescheduled to Tuesday, November 13, 2012, at 12:00 p.m.

         The trial date and time for any Defendant who intends to go to trial remains Tuesday,

November 13, 2012, at 9:00 a.m.

         It is so ORDERED.

                                                      ____________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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